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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

DALLAS GARCIA, Individually, and as )(              Civil Action No. 4:22cv3093
a representative of the estate of    )(             (Jury Trial)
FRED HARRIS, deceased,               )(
                                     )(
                         Plaintiff,  )(
                                     )(
V.                                   )(
                                     )(
HARRIS COUNTY, TX, and HARRIS )(
COUNTY SHERIFF’S OFFICE              )(
                                     )(
                         Defendants. )(


                   PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF THE COURT:

      NOW COMES DALLAS GARCIA, Individually, and as a representative

of the estate of FRED HARRIS, deceased, complaining of HARRIS COUNTY,

TEXAS and HARRIS COUNTY SHERIFF’S OFFICE and will show the

following:

                         JURISDICTION AND VENUE

      1.     This Court has jurisdiction over the federal claims of Plaintiff in this

action, under 28 U.S.C. §§ 1331 and 1343, 42 U.S.C §§ 1983 and 1988, the 4th, 5th

and 14th Amendments to the U.S. Constitution and under Title II of the Americans

with Disabilities Act (“ADA”), the Americans with Disabilities Act Amendments


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Act, 42 U.S.C. § 12131, et seq., and Section 504 of the Rehabilitation Act of 1973,

29 U.S.C. § 794 (“Rehabilitation Act"). Venue is proper in this Court pursuant to 28

USC § 1391(b) as most material facts out of which this suit arises occurred in Harris

County, Texas within the U.S. Southern District of Texas, Houston Division.

                                     PARTIES

      2.     DALLAS GARCIA, Individually, and as a representative of the estate

of Fred Harris, deceased, is an individual residing in Harris County, Texas.

      3.     Defendant HARRIS COUNTY, TEXAS is a governmental body

existing under the laws of the State of Texas and may be served with process by

serving the Harris County Judge Lina Hidalgo at 1001 Preston, Suite 911, Houston,

Texas 77002. The HARRIS COUNTY SHERIFF’S OFFICE is a part of the

HARRIS COUNTY, TEXAS government.

                                       FACTS

      4.     Fred (Fred) Harris, 19, has never been convicted of a crime in his entire

life. Fred was a special needs student, had an IQ (intelligence quotient) in the bottom

1% of the population, and suffered from mental illness. Fred lived most of his life

with his mother Dallas Garcia.

      6.     Despite his severe intellectual handicap Fred attended Stafford High

School where he was very well liked by other students due to his cheery and outgoing

personality, so much so the students elected him part of homecoming royalty. During


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high school Fred was well-behaved and had no discipline problems. Fred graduated

from Stafford High School in 2020.

      7.    Fred weighed around 98 pounds.




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      8.     For many years the Harris County jail (the Jail), the third largest county

jail in the United States, has been understaffed, underfunded, and overcrowded. The

Harris County jail is operated by the Harris County Sheriff’s Office (HCSO). Due

to these conditions the Jail has become a very dangerous place for inmates and staff

alike. For example, there are not enough staff to properly handle violent inmates and

special needs inmates (like Fred) who require escorting from one area of the Jail to

another so as to prevent assaults upon staff and inmates or at least to intervene in

assaults and thereby lessening injuries and preventing death. A horrific example is

the violent sexual assault by unescorted Jeremiah Williams of a female Jail sergeant

who was in her office. Williams was wearing a colored Jail wristband indicating he

is to be escorted by Jail staff and not allowed to roam due his violent behavior.

      9.      In response to the assault Sheriff Ed Gonzalez (Sheriff Gonzalez), who

is the elected sheriff of Harris County and top official in charge of the Jail operations,

said on December 8, 2021 “the jail needs 550 to 700 new employees.”

      https://www.fox26houston.com/news/concerns-raised-after-inmate-brutally-
attacked-sexually-assaulted-harris-county-sergeant-at-jail

      10.    The Jail is so dangerous that two anonymous Jail employees, on behalf

of themselves and other Jail employees, including the members of the Harris County

Deputies Organization (Deputies Union), took the unprecedented step of filing a

federal lawsuit on September 20, 2022 that despite years of warnings about safety

concerns about inmate-on-inmate and inmate-on-staff violence to Sheriff Gonzalez

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and the Harris County Commissioners Court (Commissioners Court) for

understaffing and underfunding nothing was done. The Commissioners Court is in

charge of funding staffing at the Jail and can earmark funds specifically for staffing.

See Exhibit 1; Civil Action No. 4:21cv3036; John Doe 1, et al. v. Harris County,

Texas, et al., which is incorporated by reference as if fully set forth herein. Deputies

Union President David Cuevas stated:

    "It’s unfortunate we’re in that position, but that’s what it is. All the assaultive
    behaviors from inmates on staff, over 6,000 inmate-on-inmate fights. We
    are not able to maintain security of the facility and we’re not able to maintain
    security for our personnel as we’ve seen with this brutal attack that
    happened on one of our sergeants, one of our sisters," says Cuevas. "We’ve
    heard from our detention staff. They’ve called our union, crying, upset,
    shaken; and it’s rang loud and clear to us. They need help and nobody’s
    listening. We need Commissioners Court to do their damn job, provide us
    the resources, the funding."


The aforementioned 6,000 inmate-on-inmate assaults were for the period from

January 1, 2021 until sometime in the September 2021.

      11.    A late 2021 inspection by a Texas government agency revealed that the

Harris County Jail is under-staffed, which inspectors believed contributed to more

than 1,000 staff members that had been assaulted by inmates in by late 2021. In

2017, there were only 46 reports of inmates assaulting staff members, according to

the Deputies Union. In December 2021 it was reported that there have already been

1,265 staff assaults in the year. “Minimal staffing has a direct impact on the ability

to provide a safe and secure environment for inmates and jail staff in areas such as

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enforcing inmate rules, ensuring inmates' clean housing areas provide for sufficient

staff to support housing officers, and has possibly contributed to an increase in

inmate-on-inmate assaults and inmate-on-staff assaults,” the Texas agency report

reads. Even during the Texas agency inspection inspectors feared for their safety

after interacting with some inmates. According to the report, all inmates should be

accounted for by face-to-face checks, no less than once every hour. Inmates who are

assaultive, potentially suicidal, or have any other concerning behaviors should be

checked every 30 minutes. But, inspectors reported this isn’t happening. Instead,

some face-to-face observations happen between 90 to 144 minutes between rounds.

The report said in some instances, officers say they are just too short-staffed. The

Jail is supposed to have one officer to every 48 inmates. According to the inspection

report, the way the Jail was meeting this ratio was troubling. The Jail is using

supervisors and essential workers (e.g. janitors) to address housing unit assignments,

taking them away from their jobs to meet the ratio.

      12.    State Senator John Whitmire said a state take-over of the Harris County

Jail could be an option: “Consider all options, including state intervention, bringing

constables, DPS.”

      13.    On October 10, 2021 Fred, although having never been arrested in his

life, was arrested for allegedly “exhibiting [] a knife.” No one was injured. Fred was




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placed in the Harris County jail. Based upon the facts, it is unlikely Fred would ever

have been convicted.

      14.      Due to Fred’s Jail intake evaluation and Harris County records it was

immediately known Fred was severely intellectually disabled and mentally ill and in

need of special care. Additionally, October 11, 2021 a magistrate judge found, and

put in Fred’s record, that Fred “is a person with mental illness or intellectual

disability.”

      15.      On October 12, 2021 the Hon. Kelli Johnson (Judge Johnson) of the

178th District Court of Harris County, Texas found Fred indigent and assigned Fred

a court-appointed lawyer for his defense. October 21, 2022 his court appointed

lawyer filed a motion for Fred to undergo psychiatric examination for competency

due to signs of mental illness such as talking to an imaginary person and family

history of schizophrenia and other mental health history. October 28, 2022 Judge

Johnson ordered Fred to undergo psychiatric examination for competency.

      16.      When Fred was in the Jail so was the extremely violent 240 pound

Michael Paul Ownby (Ownby).

      17.      October 25, 2021 Ownby was convicted and sentenced to prison for

felony Continuous Violence Against the Family. Exhibit 2.

      18.      October 27, 2021 while in the Jail Ownby viciously attacked and

injured a Jail detention officer. Exhibit 3.


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      19.    Due the extreme danger posed by Ownby his wristband clearly

indicated the danger requiring jailer escort.

      20.    On October 29, 2021, as on many days before, at around 11 PM the Jail

did not have the staff to perform all the duties necessary for safety including keeping

extremely violent inmates like Ownby away from much weaker smaller inmates and

anyone else, to watch inmates in cells for assaultive behavior, and to intervene in

inmate-on-inmate assaults. As a result Jail staff put Ownby and Fred in the same

holding cell and without appropriate oversight.

      21.    In the cell Ownby knocked Fred to the concrete floor and began

smashing Fred’s head on the concrete. Exhibit 4, Ownby murder charge.

      22.    Ownby kicked Fred in the head as he lay on the concrete floor. Id.

      23.    Ownby stabbed Fred with a weapon made from a sharpened utensil. Id.

      24.    As there was not enough Jail staff, when detention officers eventually

showed up Fred was near death.

      25.    Fred did not instigate any fight nor did he cause Ownby to assault him.

      26.    Fred was taken to Ben Taub hospital and put on life support. Fred was

declared brain dead. Fred was kept on life support so his organs could be donated

and died within a few days of arriving at Ben Taub. Mother Dallas Garcia has

suffered immensely since Fred’s death.




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       27.    There is a video of the killing of Fred but it is currently unavailable to

the Plaintiff as are the Jail records of Fred Harris under the Texas Public Information

Act (TPIA).

       28.    The autopsy report has been requested but is currently not available

under the TPIA.

       29.    The Texas Rangers are conducting an investigation, however, their

report is not currently available.

       30.    Harris County does not require and does not have insurance for

Constitutional and civil right violations of their employees including deputies, jailers

and others and including for incidents such as what happened to Fred Harris. Harris

County has never required its officers to obtain other means to satisfy a judgment

against them such as a bond, surety, or other means. Harris County, unlike multiple

other municipalities in Texas and throughout the United States, has no requirement

to satisfy judgments entered against its jailers, deputies, or other employees for

violations of civil rights, including failure to protect inmates. It is the official policy,

or unofficial custom of Harris County Sheriff’s deputies, jailers, and other

employees to not obtain such insurance or indemnification so that they remain

“judgment proof” in the event of litigation. This actively discourages litigants and

attorneys from filing lawsuits because there is often no ability to recover just

compensation for violations of constitutional rights such as the failure to protect or


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the for the violations that happened to Fred Harris. Because they are not held

accountable for Constitutional and civil rights violations, this creates an official

policy, or unofficial custom, of normalizing the Constitutional and civil rights

violations by Sheriffs, deputies, jailers, and other employees. The Commissioners

Court, and Sheriffs know it is extremely unlikely they will be sued in most instances

and even if they are sued many litigants dismiss their cases or settle for small

amounts. This was a moving force of the violence on Fred as stated in this complaint.

                  AMERICANS WITH DISABILITIES ACT

      31.    Harris County including the Sheriff’s office and the Jail have been, and

are, recipients of federal funds, and thus covered by the mandate of the

Rehabilitation Act. The Rehabilitation Act requires recipients of federal monies to

reasonably accommodate persons with disabilities in their facilities, program

activities, and services and reasonably modify such facilities, services and programs

to accomplish this purpose. 29 U.S.C. § 794 (2008).

      32.    Further, Title II of the ADA, and the Americans with Disabilities Act

Amendments Act apply to Harris County, The Sheriff’s office and the Jail have the

same mandate as the Rehabilitation Act. 42 U.S.C. § 12131 et seq. (2008).

      33.    The Harris County jail is a facility, and its operation comprises a

program and service, for Rehabilitation Act, ADA, and ADAAA purposes. Fred was




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otherwise qualified to participate in the programs and services at the Harris County

jail provided by Harris County, Texas and the HCSO’s office.

      34.    For purposes of the ADA, ADA Amendments Act, and Rehabilitation

Act, Fred was a qualified individual regarded as having a physiological impairment

that substantially limited one or more of his major life activities. Defendant Harris

County and knew Fred Harris suffered from extreme mental intellectual disability,

IQ of 62, schizophrenia and/or it’s precursors, and other mental illness. These

conditions, alone or in combination, made Fred a qualified individual with a

disability. Despite this knowledge, Harris County’s and the HCSO officers and

employees intentionally discriminated against him, under the meaning of the ADA,

ADAAA and Rehabilitation Act, by failing and refusing to protect him from Ownby

who took his life and failing to make reasonable accommodations to safely house

Fred and/or move him and Ownby about the jail with the proper escorts and to

observe Fred and Ownby when they are accessible to each other and other inmates

and employees.

      35.    As alleged above and herein, Harris County and the HCSO failed and

refused to reasonably accommodate Fred’s disability while in custody, in violation

of the ADA, ADAAA and Rehabilitation Act. That failure and refusal caused his

suffering and death.




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         36.    As alleged above, Harris County and the HCSO failed, and refused to

reasonably modify its facilities, services, accommodations, and programs to

reasonably accommodate Fred’s disability. These failures and refusals caused his

death.

         37.    Among other things, Harris County and the HCSO failed to:

         a.     Provide safe housing;

         b.     Provide safe movement from one part of the jail to another;

         c.     Provide proper medication;

         d.     Provide protection from dangerous jail inmates;

         e.     Provide oversight in case of danger from other inmates;

         f.     Provide medical treatment;

         38.    As Fred died as a direct and proximate result of Harris County and the

HCSO’s intentional discrimination against him, Plaintiff is entitled to all damages

allowed by law.

               42 U.S.C. SECTION 1983 AGAINST HARRIS COUNTY

         39.    The Civil Rights Act, codified as 42 U.S.C. § 1983, provides as follows:

               Every person who, under color of any statute, ordinance,
         regulation, custom or usage, of any state or territory or the District of
         Columbia, subjects, or causes to be subjected, any citizen of the United
         States or any other person within the jurisdiction thereof to the
         deprivation of any laws, privileges, immunities secured by the
         Constitution and laws, shall be liable to the party injured in an action
         at law, suit in equity, or other proper proceeding for redress. 42 U.S.C.
         § 1983.

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       40.    The 4th Amendment to the United States Constitution provides:

              The right of the people to be secure in their persons, houses,
       papers, and effects, against unreasonable searches and seizures, shall
       not be violated, and no warrants shall issue, but upon probable cause,
       supported by oath or affirmation, and particularly describing the place
       to be searched, and the persons or things to be seized.


       41.    The 5th Amendment to the United States Constitution provides:


             No person shall be [] deprived of life, liberty, or property,
       without due process of law;


       42.    The 14th Amendment to the United States Constitution provides:

              No State shall make or enforce any law which shall abridge the
       privileges or immunities of citizens of the United States; nor shall any
       State deprive any person of life, liberty, or property, without due
       process of law; nor deny to any person within its jurisdiction the equal
       protection of the laws.


       43.    Harris County through its officials and employees engaged in deliberate

and outrageous invasion of Plaintiff’s rights violation of Plaintiffs’ rights under the

Fourth, Fifth, and Fourteenth Amendments to the United States Constitution and 42

U.S.C. § 1983. Plaintiff re-alleges and incorporate all allegations of this Complaint

as if fully set forth herein.

       44.    Harris County and the HCSO by their acts and omissions alleged above,

under color of law and pursuant to the customs, practices and policies of Harris

County, Texas, deprived Fred of his rights thereby violating the Fourth Amendment

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to be secure in their persons, the Fifth and Fourteenth Amendments right not to be

deprived of life and liberty without due process and equal protection under the Due

Process and Equal Protection Clauses of the Fourteenth Amendment pursuant to 42

U.S.C. § 1983.

      45.    As a direct and proximate result of Defendants’ acts, which were so

outrageous in character and extreme in degree to be utterly intolerable in a civilized

community, Plaintiff suffered severe emotional distress and was injured and

damaged thereby.

      46.    As shown below, the Defendant(s) actions were part of a policy and

practice condoned by Harris County, Texas.

      47.    In addition, Harris County (and its governmental branch, Harris County

Sheriff’s Office), including its officials and employees in an official capacity

engaged in a policy and practice of deliberate indifference to the care and custody

of citizens and detainees that resulted in the injury and death of Fred.

      48.    In addition, and in the alternative, Harris County gave inadequate

training to civilian and officer personnel, including but not limited to the jailers,

deputies, and officials referenced herein and failed to supervise when detentions

occurred.

      49.    Plaintiff contends that policies, procedures, practices and customs of

Harris County and the HCSO including but not limited to the deputies referenced


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herein (alone and in concert and/or individually) put Fred in an inherently dangerous

situation and violated his rights under the First, Fourth and Fourteenth Amendments

to the Constitution of the United States for which Plaintiff seeks recovery.

      50.    Plaintiff contends that the failures to train and supervise staff regarding

the policies, procedures, practices and customs of Harris County and the deputies

put Plaintiff and potentially others in a dangerous situation and violated their rights

under the First, Fourth and Fourteenth Amendments to the Constitution of the United

States for which Plaintiff seeks recovery.

      51.    During the relevant time period contemplated by this cause of action,

Harris County and the HCSO, including but not limited to the deputies, jailers and

other officials in an official capacity failed to follow state and federal laws, federal

and state regulations with jail inmates especially Fred and Ownby.

      52.    During the relevant time contemplated by this cause of action, Harris

County and the HCSO, including but not limited to the deputies, jailers and other

officials in an official capacity, in the alternative or in addition failed to follow their

own written policies and procedures and those of the State of Texas and other

authorities on standards of care, and protection of jail inmates.

      53.    Facts at the time of filing this Complaint supporting each of the

elements of a § 1983 claim against Harris County and the HCSO are found above

and applicable to all claims, but may be summarized as follows:


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      Failed to properly train, hire, control, discipline, including firing, and

supervise employees;

      Promulgated, condoned, or showed indifference to improper policies or

customs;

      Continued such practices of improper policies or customs as to constitute

custom representing policy;

      Failing to investigate claims of assault, excessive force and other violations;

      Failure to investigate citizen complaints if a charge is pending;

      54.    These actions by Harris County and the HCSO subjected Fred to

confinement with constitutionally inadequate safety protections such as:

      Understaffing and underfunding the Jail;

      Staffing the Jail with officers with no (or insufficient) training, oversight,

supervision, or discipline;

      Not housing inmates with violent inmates;

      Not housing small vulnerable inmates with inmates who may injure them;

      Not housing inmates together without oversight;

      Not providing escorts for inmates deemed to require escorts; and

      Not providing adequate mental health care.

                                    DAMAGES




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   55.    Based upon the operative facts plead above, such acts and omissions

rise to the level of deliberate indifference and conscious indifference

constituting a violation of the First, Fifth, Fourth and Fourteenth Amendments of

the Constitution of the United States for which Plaintiff seeks recovery.

   56.    Each and every, all and singular of the foregoing acts and omissions,

on the part of Defendants, taken separately and/or collectively, jointly, and

severally, constitute a direct and proximate cause of the injuries and damages set

forth herein. As a direct, proximate, and foreseeable result of Defendants’

unlawful conduct, Plaintiff has suffered, and will continue to suffer damages in

an amount to be proved at trial.

   57.    As a direct, proximate, and foreseeable result of Defendants’ unlawful

conduct, Plaintiff has suffered, and will continue to suffer, generally physical,

mental, and psychological damages in the form of extreme and enduring worry,

grief, suffering, pain, humiliation, embarrassment, mental anguish, and

emotional distress in amounts within the jurisdictional limits of this Court, to be

proved at trial.

   58.    Plaintiff is entitled to reasonable attorneys’ fees and costs of suit as

provided for by 42 U.S.C. § 1988(b) and the ADA and Rehabilitation Act.

                               ESTATE ACTION




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        59.    Plaintiff is or will be the representative of the estate of Fred Harris who

     suffered immensely in physical and psychological pain prior to his death and for

     which the Estate is due damages.

                                     JURY DEMAND

        60.    Pursuant to Federal Rule of Civil Procedure 38(b) Plaintiff demands a

     trial by jury.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that the Court:

A.      Enter a declaratory judgment that the policies, practices, acts, and omissions

        complained of herein violated Fred’s and Plaintiff’s rights;

B.      Award compensatory damages for Plaintiff against Defendants, jointly and

        severally;

C.      Award reasonable attorneys’ fees and costs and all litigation expenses,

        pursuant to federal and state law, as noted against Defendants, jointly and

        severally pursuant to 48 U.S.C. § 1988;

D.      Award pre- and post-judgement interest; and

E.      Award costs of court;

F.      Retain jurisdiction over Defendant Harris County such time that the Court is

        satisfied that Defendants’ unlawful policies, practices, acts, and omissions no

        longer exist and will not recur; and,


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G.    Grant such other and further relief as appears reasonable and just, to which,

      Plaintiff shows herself entitled.



                                 Respectfully Submitted,

                                 /s/ Randall L. Kallinen
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